               Case: 25-1577
             UNITED          Document:
                     STATES COURT  OF12   Page: 1FORDate
                                       APPEALS       THEFiled:
                                                         THIRD 04/08/2025
                                                                   CIRCUIT

                            CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:
Atlas Data Privacy Corp, et al. v. Joy Rockwell Enterprises Inc., et al.
___________________________________________________________________________________

APPEAL FROM DISTRICT COURT:
          New Jersey
District:____________________________________________________________________________
                    1:24-cv-04389-HB
D.C. Docket No.:_____________________________________________________________________
                                       March 31, 2024
Date proceedings initiated in D.C.:_______________________________________________________
                                December 12, 2024
Date Notice of Appeal filed:____________________________________________________________
              25-1577
USCA No.:_________________________________________________________________________
___________________________________________________________________________________
                                            COUNSEL ON APPEAL
                Joy Rockwell Enterprises Inc.
Appellant(s):_______________________________________________________________________
                     Kelly M. Purcaro and Kory Ann Ferro, Greenspoon Marder LLP
Name of Counsel:____________________________________________________________________
                      Joy Rockwell Enterprises Inc.
Name of Party(ies):___________________________________________________________________
          One Riverfront Plaza 1037 Raymond Blvd, Suite 900, Newark, NJ 07102
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                  (732) 456-8734 or 8746
Telephone No.:______________________________________________________________________
Fax No.:____________________________________________________________________________
          (732) 957-2314
         Kelly.Purcaro@gmlaw.com    and KoryAnn.Ferro@gmlaw.com
E-mail:_____________________________________________________________________________

For Appellee(s): *List only the names of parties and counsel who will oppose you on appeal
                   Rajiv D. Parikh, Kathleen Barnett Einhorn, and Jessica Merejo of PEM Law LLP
Name of Counsel:____________________________________________________________________
                     Atlas Data Privacy Corp, et al.
Name of Party(ies):___________________________________________________________________
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       rparikh@pemlawfirm.com; keinhorn@pemlawfirm.com; jmerejo@pemlawfirm.com

                  Adam R. Shaw, Mark C. Mao, Eric M. Palmer, and Samantha Parrish of Boies Schiller Flexner LLP
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Name of Party(ies):___________________________________________________________________
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Is this a Cross-Appeal?                  Yes        No ✔
Appeals Docket No.:__________________________________________________________________

Was there a previous appeal in case?        Yes        No ✔
If yes, Short Title:____________________________________________________________________
Appeals Docket No.:__________________________________________________________________
Citation, if reported:__________________________________________________________________
To your knowledge Case:   25-1577
                      is there       Document:
                               any case          12 orPage:
                                        now pending     about2to beDate   Filed:
                                                                     brought     04/08/2025
                                                                              before  this Court or any other
court or administrative agency which:
a) Arises from substantially the same case or controversy as this appeal?        Yes ✔          No
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?
                                                                                 Yes ✔          No
If you answered yes to either “a” or “b” please provide:
              See attached
Case Name:_________________________________________________________________________
D.C. Docket No.:_____________________________________________________________________
Court or Agency:_____________________________________________________________________
Docket Number:_____________________________________________________________________
Citation, if reported:__________________________________________________________________
___________________________________________________________________________________
                                            NATURE OF SUIT
                                         (Check as many as apply)

1. FEDERAL STATUTES                                          ASSAULT/DEFAMATION
   ANTITRUST                                                 PRODUCT LIABILITY/WARRANTY
   BANKRUPTCY                                                DIVERSITY
   BANKS & BANKING                                           OTHER Specify:______________________
   CIVIL RIGHTS
   COMMERCE, ROUTES, AND TARIFFS                          3. CONTRACTS
   COMMODITIES                                               ADMIRALTY/MARITIME
   COMMUNICATIONS                                            ARBITRATION
   CONSUMER PROTECTION                                       COMMERCIAL
   COPYRIGHT                                                 EMPLOYMENT
   PATENT                                                    INSURANCE
   TRADEMARK                                                 NEGOTIABLE DISBURSEMENTS
   ELECTION                                                  OTHER Specify:______________________
   ENERGY
   ENVIRONMENTAL                                          4. PRISONER PETITIONS
   FOIA FREEDOM OF INFORMATION                               CIVIL RIGHTS
   IMMIGRATION                                               VACATE SENTENCE 2255
   LABOR                                                     HABEAS CORPUS 2254
   OSHA                                                      HABEAS CORPUS 2241
   SECURITIES                                                MANDAMUS/PROHIBITION
   SOCIAL SECURITY                                           OTHER Specify:______________________
   TAX
   EQUAL ACCESS TO JUSTICE                                5. OTHER
   OTHER Specify:______________________                      FORFEITURE
                                                             CIVIL GRAND JURY
2. TORTS                                                     TREATY Specify:_____________________
   ADMIRALTY                                                               Daniel's Law
                                                           ✔ OTHER Specify:______________________


This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this
8th
_____           April
       day of ____________________,            25
                                            20_____  .

                     /s/Kelly Purcaro
Signature of Counsel:_________________________________________________________________
          Case: 25-1577       Document: 12       Page: 3    Date Filed: 04/08/2025




                                   COUNSEL ON APPEAL
                   (Continued from page 1 of Civil Appeal Information Sheet)

For Appellee(s):
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Name of Party(ies): Atlas Data Privacy Corp, et al.

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E-mail: jyanchunis@forthepeople.com and rmcgee@forthepeople.com
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       CASES INVOLVING SIMILAR ISSUES AND CONTROVERSIES
          Continued from page 2 of Civil Appeal Information Sheet

 Note: Cases that are currently dismissed for lack of prosecution are denoted with an *
     Cases in which judgment by default has been entered are denoted with an **

1.   Case Name:                 Atlas Data Privacy Corporation, et al. v. We Inform, LLC, et al.
     Appellate Docket:          25-1555
     D.C. Docket No.:           1:24-cv-04037
     Court or Agency No.:       District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Morris County
     Docket Number:             MRS-L-000379-24
     Citation, if reported:     N/A

2.   Case Name:                 Atlas Data Privacy Corporation, et al. v. Infomatics LLC, et al.
     Appellate Docket:          25-1555
     D.C. Docket No.:           1:24-cv-04041
     Court or Agency No.:       District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Bergen County
     Docket Number:             BER-L-000872-24
     Citation, if reported:     N/A

3.   Case Name:                 Atlas Data Privacy Corporation, et al. v. The People Searchers,
                                LLC, et al.
     Appellate Docket:          25-1557
     D.C. Docket No.:           1:24-cv-04045
     Court or Agency No.:       District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Morris County
     Docket Number:             MRS-L-000257-24
     Citation, if reported:     N/A

4.   Case Name:                 Atlas Data Privacy Corporation, et al. v. Deluxe Corporation, et
                                al.
     Appellate Docket:          25-1559
     D.C. Docket No.:           1:24-cv-04080
     Court or Agency No.:       District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Bergen County
     Docket Number:             BER-L-000821-24
     Citation, if reported:     N/A

5.   Case Name:                 Atlas Data Privacy Corporation, et al. v. Quantarium Alliance,
                                LLC, et al.
     Appellate Docket:          25-1560
     D.C. Docket No.:           1:24-cv-04098
     Court or Agency No.:


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                                District of New Jersey removed from Superior Court of New
      Docket Number:            Jersey, Law Division, Bergen County
      Citation, if reported:    BER-L-000878-24
                                N/A

6.    Case Name:                Atlas Data Privacy Corporation, et al. v. Yardi Systems, Inc., et
                                al.
      Appellate Docket:         25-1561
      D.C. Docket No.:          1:24-cv-04103
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Bergen County
      Docket Number:            BER-L-000856-24
      Citation, if reported:    N/A

7.    Case Name:                Atlas Data Privacy Corporation, et al. v. Digital Safety Products,
                                LLC, et al.
      Appellate Docket:         25-1562
      D.C. Docket No.:          1:24-cv-04141
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Middlesex County
      Docket Number:            MID-L-000814-24
      Citation, if reported:    N/A

8.    Case Name:                Atlas Data Privacy Corporation, et al. v. Civil Data Research,
                                LLC, et al.
      Appellate Docket:         25-1563
      D.C. Docket No.:          1:24-cv-04143
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Mercer County
      Docket Number:            MER-L-000292-24
      Citation, if reported:    N/A

9.    Case Name:                Atlas Data Privacy Corporation, et al. v. Scalable Commerce,
                                LLC, et al.
      Appellate Docket:         25-1564
      D.C. Docket No.:          1:24-cv-04160
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Bergen County
      Docket Number:            BER-L-771-24
      Citation, if reported:    N/A

10.   Case Name:                Atlas Data Privacy Corporation, et al. v. Labels & Lists, Inc., et
                                al.
      Appellate Docket:         25-1565
      D.C. Docket No.:          1:24-cv-04174
      Court or Agency No.:


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                                District of New Jersey removed from Superior Court of New
      Docket Number:            Jersey, Law Division, Bergen County
      Citation, if reported:    BER-L-000812-24
                                N/A
11.   Case Name:                Atlas Data Privacy Corporation, et al. v. Innovis Data Solutions,
                                Inc., et al.
      Appellate Docket:         25-1566
      D.C. Docket No.:          1:24-cv-04176
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Morris County
      Docket Number:            MRS-L-000285-24
      Citation, if reported:    N/A

12.   Case Name:                Atlas Data Privacy Corporation, et al. v. Accurate Append, Inc.,
                                et al.
      Appellate Docket:         25-1567
      D.C. Docket No.:          1:24-cv-04178
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Middlesex County
      Docket Number:            MID-L-000848-24
      Citation, if reported:    N/A

13.   Case Name:                Atlas Data Privacy Corporation, et al. v. Zillow, Inc., et al.
      Appellate Docket:         25-1568
      D.C. Docket No.:          1:24-cv-04256
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Bergen County
      Docket Number:            BER-L-000874-24
      Citation, if reported:    N/A

14.   Case Name:                Atlas Data Privacy Corporation, et al. v. Equimine, Inc. d/b/a
                                Propstream, et al.
      Appellate Docket:         25-1569
      D.C. Docket No.:          1:24-cv-04261
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Monmouth County
      Docket Number:            MON-L-000535-24
      Citation, if reported:    N/A

15.   Case Name:                Atlas Data Privacy Corporation, et al. v. Thomson Reuters
                                Corporation, et al.
      Appellate Docket:         25-1570
      D.C. Docket No.:          1:24-cv-04269
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Morris County
      Docket Number:            MRS-L-000320-24


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      Citation, if reported:    N/A

16.   Case Name:                Atlas Data Privacy Corporation, et al. v. Melissa Data Corp, et
                                al.
      Appellate Docket:         25-1571
      D.C. Docket No.:          1:24-cv-04292
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Morris County
      Docket Number:            MRS-L-000224-24
      Citation, if reported:    N/A

17.   Case Name:                Atlas Data Privacy Corporation, et al. v. Restoration of America,
                                et al.
      Appellate Docket:         25-1572
      D.C. Docket No.:          1:24-cv-04324
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Monmouth County
      Docket Number:            MON-L-000510-24
      Citation, if reported:    N/A

18.   Case Name:                Atlas Data Privacy Corporation, et al. v. i360, LLC, et al.
      Appellate Docket:         25-1573
      D.C. Docket No.:          1:24-cv-04345
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Mercer County
      Docket Number:            MER-L-000297-24
      Citation, if reported:    N/A

19.   Case Name:                Atlas Data Privacy Corporation, et al. v. Gohunt, LLC, et al.
      Appellate Docket:         25-1574
      D.C. Docket No.:          1:24-cv-04380
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Bergen County
      Docket Number:            BER-L-000870-24
      Citation, if reported:    N/A

20.   Case Name:                Atlas Data Privacy Corporation, et al. v. Accuzip, Inc., et al.
      Appellate Docket:         25-1575
      D.C. Docket No.:          1:24-cv-04383
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Monmouth County
      Docket Number:            MON-L-000554-24
      Citation, if reported:    N/A

21.   Case Name:                Atlas Data Privacy Corporation, et al. v. Synaptix Technology,
                                LLC, et al.


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      Appellate Docket:         25-1576
      D.C. Docket No.:          1:24-cv-04385
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Mercer County
      Docket Number:            MER-L-000288-24
      Citation, if reported:    N/A

22.   Case Name:                Atlas Data Privacy Corporation, et al. v. Fortnoff Financial, LLC,
                                et al.
      Appellate Docket:         25-1578
      D.C. Docket No.:          1:24-cv-04390
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Mercer County
      Docket Number:            MER-L-000284-24
      Citation, if reported:    N/A

23.   Case Name:                Atlas Data Privacy Corporation, et al. v. Myheritage, LTD., et al.
      Appellate Docket:         25-1579
      D.C. Docket No.:          1:24-cv-04392
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Mercer County
      Docket Number:            MER-L-000282-24
      Citation, if reported:    N/A

24.   Case Name:                Atlas Data Privacy Corporation, et al. v. E-Merges.com, Inc., et
                                al.
      Appellate Docket:         25-1580
      D.C. Docket No.:          1:24-cv-04434
      Court or Agency No.:      District of New Jersey removed Superior Court of New Jersey,
                                Law Division, Bergen County
      Docket Number:            BER-L-000854-24
      Citation, if reported:    N/A

25.   Case Name:                Atlas Data Privacy Corporation, et al. v. Nuwber, Inc., et al.
      Appellate Docket:         25-1581
      D.C. Docket No.:          1:24-cv-04609
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
      Docket Number:            Jersey, Law Division, Morris County
      Citation, if reported:    MRS-L-000225-24
                                N/A

26.   Case Name:                Atlas Data Privacy Corporation, et al. v. Rocketreach LLC, et al.
      Appellate Docket:         25-1582
      D.C. Docket No.:          1:24-cv-04664
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Bergen County


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      Docket Number:            BER-L-000873-24
      Citation, if reported:    N/A

27.   Case Name:                Atlas Data Privacy Corporation, et al. v. Belles Camp
                                Communications, Inc., et al.
      Appellate Docket:         25-1583
      D.C. Docket No.:          1:24-cv-04949
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Monmouth County
      Docket Number:            MON-L-000508-24
      Citation, if reported:    N/A

28.   Case Name:                Atlas Data Privacy Corporation, et al. v. Propertyradar, Inc., et
                                al.
      Appellate Docket:         25-1584
      D.C. Docket No.:          1:24-cv-05600
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Mercer County
      Docket Number:            MER-L-000293-24
      Citation, if reported:    N/A

29.   Case Name:                Atlas Data Privacy Corporation, et al. v. The Alesco Group, et al.
      Appellate Docket:         25-1585
      D.C. Docket No.:          1:24-cv-05656
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Bergen County
      Docket Number:            BER-L-000969-24
      Citation, if reported:    N/A

30.   Case Name:                Atlas Data Privacy Corporation, et al. v. Searchbug, Inc., et al.
      Appellate Docket:         25-1586
      D.C. Docket No.:          1:24-cv-05658
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Middlesex County
      Docket Number:            MID-L-000904-24
      Citation, if reported:    N/A

31.   Case Name:                Atlas Data Privacy Corporation, et al. v. Amerilist, Inc., et al.
      Appellate Docket:         25-1587
      D.C. Docket No.:          1:24-cv-05775
      Court or Agency No.:      District of New Jersey removed from Superior Court of New
                                Jersey, Law Division, Middlesex County
      Docket Number:            MID-L-001052-24
      Citation, if reported:    N/A




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32.   Case Name:               Atlas Data Privacy Corporation, et al. v. US Data Corporation,
                               et al.
      Appellate Docket:        25-1588
      D.C. Docket No.:         1:24-cv-07324
      Court or Agency No.:     District of New Jersey removed from Superior Court of New
                               Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000323-24
      Citation, if reported:   N/A

33.   Case Name:               Atlas Data Privacy Corporation, et al. v. Compact Information
                               Systems, LLC
      Appellate Docket:        25-1590
      D.C. Docket No.:         1:24-cv-0845
      Court or Agency No.:     District of New Jersey removed from Superior Court of New
                               Jersey, Law Division, Monmouth County
      Docket Number:           MON-L-000534-24
      Citation, if reported:   N/A

34.   Case Name:               Atlas Data Privacy Corporation, et al. v. Darkowl, LLC, et al.
      Appellate Docket:        25-1591
      D.C. Docket No.:         1:24-cv-10600
      Court or Agency No.:     District of New Jersey removed from Superior Court of New
                               Jersey, Law Division, Essex County
      Docket Number:           ESX-L-007210-24
      Citation, if reported:   N/A

35.   Case Name:               Atlas Data Privacy Corporation, et al. v. Spy Dialer, Inc., et al.
      Appellate Docket:        25-1592
      D.C. Docket No.:         1:24-cv-11023
      Court or Agency No.:     District of New Jersey removed from Superior Court of New
                               Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000259-24
      Citation, if reported:   N/A

36.   Case Name:               Atlas Data Privacy Corporation v. Lighthouse List Co., LLC
      Appellate Docket:        25-1593
      D.C. Docket No.:         1:24-cv-11443
      Court or Agency No.:     District of New Jersey removed from Superior Court of New
                               Jersey, Law Division, Middlesex County
      Docket Number:           MID-L-1221-24
      Citation, if reported:   N/A

37.   Case Name:               Atlas Data Privacy Corporation, et al. v. Corelogic, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04230
      Court or Agency No.:


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                               District of New Jersey remanded back to Superior Court of New
      Docket Number:           Jersey, Law Division, Bergen County
      Citation, if reported:   BER-L-000773-24
                               N/A

38.   Case Name:               Atlas Data Privacy Corporation, et al. v. Lusha Systems, Inc., et
                               al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04184
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000814-24
      Citation, if reported:   N/A

39.   Case Name:               Atlas Data Privacy Corporation, et al. v. Atdata, LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04447
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000867-24
      Citation, if reported:   N/A

40.   Case Name:               Atlas Data Privacy Corporation, et al. v. LexisNexis Risk Data
                               Management, LLC et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-06160
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000875-24
      Citation, if reported:   N/A

41.   Case Name:               Atlas Data Privacy Corporation, et al. v. Precisely Holdings,
                               LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04571
      Court or Agency No.:     Superior Court of New Jersey remanded back to Law Division,
                               Bergen County
      Docket Number:           BER-L-000819-24
      Citation, if reported:   N/A

42.   Case Name:               Atlas Data Privacy Corporation, et al. v. Transunion, LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         24-cv-04288
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000810-24


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      Citation, if reported:   N/A

43.   Case Name:               Atlas Data Privacy Corporation, et al. v. Equifax, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04298
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000919-24
      Citation, if reported:   N/A

44.   Case Name:               Atlas Data Privacy Corporation, et al. v. Choreograph LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04271
      Court or Agency No.:     District of New Jersey remanded back from Superior Court of
                               New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-00920-24
      Citation, if reported:   N/A

45.   Case Name:               Atlas Data Privacy Corporation, et al. v. Claritas, LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04175
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000868-24
      Citation, if reported:   N/A

46.   Case Name:               Atlas Data Privacy Corporation, et al. v. Oracle International
                               Corporation, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04112
                               District of New Jersey remanded back to Superior Court of New
      Court or Agency No.:     Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000917-24
      Citation, if reported:   N/A

47.   Case Name:               Atlas Data Privacy Corporation, et al. v. Re/Max, LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04114
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000871-24
      Citation, if reported:   N/A

48.   Case Name:               Atlas Data Privacy Corporation, et al. v. Enformion, LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04110


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      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000767-24
      Citation, if reported:   N/A

49.   Case Name:               Atlas Data Privacy Corporation, et al. v. Babel Street, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-10596
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Essex County
      Docket Number:           ESX-L-007260-24
      Citation, if reported:   N/A

50.   Case Name:               Atlas Data Privacy Corporation, et al. v. Lightbox Parent, L.P.,
                               et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04105
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000309-24
      Citation, if reported:   N/A

51.   Case Name:               Atlas Data Privacy Corporation, et al. v. Smarty, LLC, et al.
      Appellate Docket:        25-1589
      D.C. Docket No.:         1:24-cv-08075
      Court or Agency No.:     District of New Jersey removed from Superior Court of New
                               Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000310-24
      Citation, if reported:   N/A

52.   Case Name:               Atlas Data Privacy Corporation, et al. v. The Lifetime Value Co.
                               LLC, et al.*
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04850
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000272-24
      Citation, if reported:   N/A

53.   Case Name:               Atlas Data Privacy Corporation, et al. v. Valassis Digital Corp.,
                               et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04770
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000290-24


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      Citation, if reported:   N/A

54.   Case Name:               Atlas Data Privacy Corporation, et al. v. Black Knight
                               Technologies, LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04233
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000271-24
      Citation, if reported:   N/A

55.   Case Name:               Atlas Data Privacy Corporation, et al. v. Whitepages, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-03998
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000270-24
      Citation, if reported:   N/A

56.   Case Name:               Atlas Data Privacy Corporation, et al. v. Acxiom LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:2024-cv-04107
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000283-24
      Citation, if reported:   N/A

57.   Case Name:               Atlas Data Privacy Corporation, et al. v. Hiya, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04000
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000285-24
      Citation, if reported:   N/A

58.   Case Name:               Atlas Data Privacy Corporation, et al. v. 6Sense Insights, Inc., et
                               al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:2024-cv-04104
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Middlesex County
      Docket Number:           MID-000988-24
      Citation, if reported:   N/A

59.   Case Name:               Atlas Data Privacy Corporation, et al. v. DM Group, Inc. et al.
      Appellate Docket:        25-155


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      D.C. Docket No.:         1:24-cv-04075
      Court or Agency No.:     District of New Jersey removed from Superior Court of New
                               Jersey, Law Division, Middlesex County
      Docket Number:           MID-L-000990-24
      Citation, if reported:   N/A

60.   Case Name:               Atlas Data Privacy Corporation, et al. v. First American
                               Financial Corp., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-05334
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Middlesex County
      Docket Number:           MID-L-000915-24
      Citation, if reported:   N/A

61.   Case Name:               Atlas Data Privacy Corporation, et al. v. Outside Interactive, Inc.,
                               et al.*
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04969
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Middlesex County
      Docket Number:           MID-L-000849-24
      Citation, if reported:   N/A

62.   Case Name:               Atlas Data Privacy Corporation, et al. v. Red Violet, Inc. et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04113
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Monmouth County
      Docket Number:           MON-L-000482-24
      Citation, if reported:   N/A

63.   Case Name:               Atlas Data Privacy Corporation, et al. v. Search Quarry, LLC, et
                               al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04106
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Monmouth County
      Docket Number:           MON-L-000516-24
      Citation, if reported:   N/A

64.   Case Name:               Atlas Data Privacy Corporation, et al. v. Data Axle, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04181
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Monmouth County


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      Docket Number:           MON-L-000483-24
      Citation, if reported:   N/A

65.   Case Name:               Atlas Data Privacy Corporation, et al. v. Wiland, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04442
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Monmouth County
      Docket Number:           MON-L-000577-24
      Citation, if reported:   N/A

66.   Case Name:               Atlas Data Privacy Corporation, et al. v. Peopleconnect, Inc., et
                               al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04227
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Monmouth County
      Docket Number:           MON-L-000484-24
      Citation, if reported:   N/A

67.   Case Name:               Atlas Data Privacy Corporation, et al. v. People Data Labs, Inc.,
                               et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04171
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Monmouth County
      Docket Number:           MON-L-000515-24
      Citation, if reported:   N/A

68.   Case Name:               Atlas Data Privacy Corporation, et al. v. Epsilon Data
                               Management, LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:2024-cv-04168
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Monmouth County
      Docket Number:           MON-L-000533-24
      Citation, if reported:   N/A
69.   Case Name:               Atlas Data Privacy Corporation, et al. v. Spokeo, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04299
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000227-24
      Citation, if reported:   N/A

70.   Case Name:               Atlas Data Privacy Corporation, et al. v. Remine, Inc., et al.


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      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04182
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000258-24
      Citation, if reported:   N/A

71.   Case Name:               Atlas Data Privacy Corporation, et al. v. Telnyx LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04354
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000260-24
      Citation, if reported:   N/A

72.   Case Name:               Atlas Data Privacy Corporation, et al. v. Commercial Real Estate
                               Exchange, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04073
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000271-24
      Citation, if reported:   N/A

73.   Case Name:               Atlas Data Privacy Corporation, et al. v. Twilio, Inc. et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04095
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000226-24
      Citation, if reported:   N/A

74.   Case Name:               Atlas Data Privacy Corporation, et al. v. Blackbaud, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-03993
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000243-24
      Citation, if reported:   N/A

75.   Case Name:               Atlas Data Privacy Corporation, et al. v. Delvepoint, LLC, et al.
      Appellate Docket:        24-8046
      D.C. Docket No.:         1:24-cv-04096



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      Court or Agency No.:     District of New Jersey remanded back to Superior Court of
                               New Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000244-24
      Citation, if reported:   N/A

76.   Case Name:               Atlas Data Privacy Corporation, et al. v. Constella Intelligence,
                               Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         2:24-cv-10571
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Essex County
      Docket Number:           ESX-L-007212-24
      Citation, if reported:   N/A

77.   Case Name:               Atlas Data Privacy Corporation, et al. v. Carco Group, Inc., et
                               al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04077
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of
                               New Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000270-24
      Citation, if reported:   N/A

78.   Case Name:               Atlas Data Privacy Corporation, et al. v. Sync.Me Technologies,
                               Ltd., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000822-24
      Citation, if reported:   N/A

79.   Case Name:               Atlas Data Privacy Corporation, et al. v. Sagewire Research
                               LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000869-24
      Citation, if reported:   N/A

80.   Case Name:               Atlas Data Privacy Corporation, et al. v. Unmask LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000815-24
      Citation, if reported:   N/A



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81.   Case Name:               Atlas Data Privacy Corporation, et al. v. Swordfish Ai I, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000794-24
      Citation, if reported:   N/A
82.   Case Name:               Atlas Data Privacy Corporation, et al. v. Boundary Solution, et
      Appellate Docket:        al.
      D.C. Docket No.:         N/A
      Court or Agency No.:     N/A
      Docket Number:           Superior Court of New Jersey, Law Division, Bergen County
      Citation, if reported:   BER-L-000793-24
                               N/A

83.   Case Name:               Atlas Data Privacy Corporation, et al. v. Intelage System, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000772-24
      Citation, if reported:   N/A

84.   Case Name:               Atlas Data Privacy Corporation, et al. v. Onxmaps, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000813-24
      Citation, if reported:   N/A

85.   Case Name:               Atlas Data Privacy Corporation, et al. v. Social Catfish, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000769-24
      Citation, if reported:   N/A

86.   Case Name:               Atlas Data Privacy Corporation, et al. v. Officialusa.com, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000849-24
      Citation, if reported:   N/A

87.   Case Name:               Atlas Data Privacy Corporation, et al. v. Main Street Re, et al.*
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County


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      Docket Number:           BER-L-000855-24
      Citation, if reported:   N/A

88.   Case Name:               Atlas Data Privacy Corporation, et al. v. Costar Group, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04111
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of
                               New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000770-24
      Citation, if reported:   N/A

89.   Case Name:               Atlas Data Privacy Corporation, et al. v. National Search
                               Association, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000866-24
      Citation, if reported:   N/A

90.   Case Name:               Atlas Data Privacy Corporation, et al. v. Amsive, LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000918-24
      Citation, if reported:   N/A

91.   Case Name:               Atlas Data Privacy Corporation, et al. v. Usphonesearch, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000970-24
      Citation, if reported:   N/A

92.   Case Name:               Atlas Data Privacy Corporation, et al. v. Edvisors Network, et
                               al.*
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000971-24
      Citation, if reported:   N/A

93.   Case Name:               Atlas Data Privacy Corporation, et al. v. Innovative Web, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:25-cv-01535
                               District of New Jersey removed from Superior Court of New
      Court or Agency No.:     Jersey, Law Division, Bergen County


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                               BER-L-001038-24
      Docket Number:           N/A
      Citation, if reported:
94.   Case Name:               Atlas Data Privacy Corporation, et al. v. Mylife.Com, Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000768-24
      Citation, if reported:   N/A
95.   Case Name:               Atlas Data Privacy Corporation, et al. v. Mapright Inc., et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000818-24
      Citation, if reported:   N/A

96.   Case Name:               Atlas Data Privacy Corporation, et al. v. Greenflight Venture
                               Corp., et al.
      Appellate Docket:        25-8014
      D.C. Docket No.:         1:25-cv-01517
      Court or Agency No.:     District of New Jersey removed from Superior Court of New
                               Jersey, Law Division, Bergen County
      Docket Number:           BER-L-000811-24
      Citation, if reported:   N/A

97.   Case Name:               Atlas Data Privacy Corporation, et al. v. Attom Data Solutions,
                               LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000273-24
      Citation, if reported:   N/A

98.   Case Name:               Atlas Data Privacy Corporation, et al. v. Lucky2Media, LLC, et
                               al.*
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000286-24
      Citation, if reported:   N/A

99.   Case Name:               Atlas Data Privacy Corporation, et al. Vs Dynata LLC, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000308-24


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      Citation, if reported:   N/A

100. Case Name:                Atlas Data Privacy Corporation, et al. v. Previlon, LLC, et al.*
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Mercer County
     Docket Number:            MER-L-000294-24
     Citation, if reported:    N/A

101. Case Name:                Atlas Data Privacy Corporation, et al. v. Scsd Holdings, et al.**
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Mercer County
     Docket Number:            MER-L-000299-24
     Citation, if reported:    N/A

102. Case Name:                Atlas Data Privacy Corporation, et al. v. Adstra, LLC, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Mercer County
     Docket Number:            MER-L-000311-24
     Citation, if reported:    N/A

103. Case Name:                Atlas Data Privacy Corporation, et al. v. Cocofinder.Com, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Mercer County
     Docket Number:            MER-L-000319-24
     Citation, if reported:    N/A

104. Case Name:                Atlas Data Privacy Corporation, et al. v. Areaplot, LLC, et al.**
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Mercer County
     Docket Number:            MER-L-000320-24
     Citation, if reported:    N/A

105. Case Name:                Atlas Data Privacy Corporation, et al. v. First Direct, Inc., et al.
     Appellate Docket:         25-8013
     D.C. Docket No.:          1:25-cv-01480
     Court or Agency No.:      District of New Jersey removed from Superior Court of New
                               Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000328-24
      Citation, if reported:   N/A

106. Case Name:                Atlas Data Privacy Corporation, et al. v. Telephonedirect, et al.


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      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Mercer County
      Docket Number:           MER-L-000335-24
      Citation, if reported:   N/A

107. Case Name:                Atlas Data Privacy Corporation, et al. v. Vonage Holding, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Essex County
     Docket Number:            ESX-L-0007208-24
     Citation, if reported:    N/A

108. Case Name:                Atlas Data Privacy Corporation, et al. v. Cole Information, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Essex County
     Docket Number:            ESX-L-0007209-24
     Citation, if reported:    N/A

109. Case Name:                Atlas Data Privacy Corporation, et al. v. Driveniq Corporation,
                               et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Essex County
      Docket Number:           ESX-L-0007211-24
      Citation, if reported:   N/A

110. Case Name:                Atlas Data Privacy Corporation, et al. v. Peachtree Data, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Essex County
     Docket Number:            ESX-L-0007259-24
     Citation, if reported:    N/A

111. Case Name:                Atlas Data Privacy Corporation, et al. v. Insidere, LLC, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Middlesex County
     Docket Number:            MID-L-000991-24
     Citation, if reported:    N/A

112. Case Name:                Atlas Data Privacy Corporation, et al. v. Giant Partners, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Middlesex County


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      Docket Number:           MID-L-000989-24
      Citation, if reported:   N/A

113. Case Name:                Atlas Data Privacy Corporation, et al. v. Infopay, Inc., et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Middlesex County
     Docket Number:            MID-L-000815-24
     Citation, if reported:    N/A

114. Case Name:                Atlas Data Privacy Corporation, et al. v. True Software
                               Scandinavia AB, et al.*
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Middlesex County
      Docket Number:           MID-L-000812-24
      Citation, if reported:   N/A

115. Case Name:                Atlas Data Privacy Corporation, et al. v. Radaris, LLC, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Middlesex County
     Docket Number:            MID-L-000847-24
     Citation, if reported:    N/A

116. Case Name:                Atlas Data Privacy Corporation, et al. v. Glad I Know, Inc., et
                               al.*
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Middlesex County
      Docket Number:           MID-L-000850-24
      Citation, if reported:   N/A

117. Case Name:                Atlas Data Privacy Corporation, et al. v. Allpeople.Com, et al.*
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Middlesex County
     Docket Number:            MID-L-000898-24
     Citation, if reported:    N/A

118. Case Name:                Atlas Data Privacy Corporation, et al. v. Revealname.com, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Middlesex County
     Docket Number:            MID-L-000901-24
     Citation, if reported:    N/A


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119. Case Name:                Atlas Data Privacy Corporation, et al. v. Verisk Analytics, Inc.,
                               et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Middlesex County
      Docket Number:           MID-L-000903-24
      Citation, if reported:   N/A

120. Case Name:                Atlas Data Privacy Corporation, et al. v. Owmn, Ltd., et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Middlesex County
     Docket Number:            MID-L-000992-24
     Citation, if reported:    N/A

121. Case Name:                Atlas Data Privacy Corporation, et al. v. Peoplewhiz, Inc., et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          1:25-cv-00237
     Court or Agency No.:      District of New Jersey removed from Superior Court of New
                               Jersey, Law Division, Middlesex County
      Docket Number:           MID-L-001063-24
      Citation, if reported:    N/A

122. Case Name:                Atlas Data Privacy Corporation, et al. v. Teltech Systems, Inc., et
                               al.
      Appellate Docket:        N/A
      D.C. Docket No.:         1:24-cv-04217
      Court or Agency No.:     District of New Jersey remanded back to Superior Court of New
                               Jersey, Law Division, Middlesex County
      Docket Number:           MID-L-000859-24
      Citation, if reported:    N/A

123. Case Name:                Atlas Data Privacy Corporation, et al. v. NJ Property Records,
                               et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Middlesex County
      Docket Number:           MID-L-000811-24
      Citation, if reported:   N/A

124. Case Name:                Atlas Data Privacy Corporation, et al. v. Wellnut.Com, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Monmouth County
     Docket Number:            MON-L-000512-24


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      Citation, if reported:   N/A

125. Case Name:                Atlas Data Privacy Corporation, et al. v. Kawasaki Peter et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Monmouth County
     Docket Number:            MON-L-000517-24
     Citation, if reported:    N/A

126. Case Name:                Atlas Data Privacy Corporation, et al. v. PIPL, Inc., et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Monmouth County
     Docket Number:            MON-L-000481-24
     Citation, if reported:    N/A

127. Case Name:                Atlas Data Privacy Corporation, et al. v. LTRAC, LLC, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Monmouth County
     Docket Number:            MON-L-000694-24
     Citation, if reported:    N/A

128. Case Name:                Atlas Data Privacy Corporation, et al. v. Neighbor.Report, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Monmouth County
     Docket Number:            MON-L-000537-24
     Citation, if reported:    N/A

129. Case Name:                Atlas Data Privacy Corporation, et al. v. Batchservice LLC, et
                               al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Monmouth County
      Docket Number:           MON-L-000485-24
      Citation, if reported:   N/A

130. Case Name:                Atlas Data Privacy Corporation, et al. v. Checkpeople, LLC, et
                               al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Monmouth County
      Docket Number:           MON-L-000506-24
      Citation, if reported:   N/A



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131. Case Name:                Atlas Data Privacy Corporation, et al. v. Specialists Marketing
                               Services, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Monmouth County
      Docket Number:           MON-L-000539-24
      Citation, if reported:   N/A

132. Case Name:                Atlas Data Privacy Corporation, et al. v. Databaseusa.Com, et
                               al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000230-24
      Citation, if reported:   N/A

133. Case Name:                Atlas Data Privacy Corporation, et al. v. Callersmart Inc., et al.*
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000237-24
     Citation, if reported:    N/A

134. Case Name:                Atlas Data Privacy Corporation, et al. v. Skopenow, Inc., et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000241-24
     Citation, if reported:    N/A

135. Case Name:                Atlas Data Privacy Corporation, et al. v. Dehashed.Com, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000242-24
     Citation, if reported:    N/A

136. Case Name:                Atlas Data Privacy Corporation, et al. v. Locateplus Holdngs
                               Corp, et al.
      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000247-24
      Citation, if reported:   N/A

137. Case Name:                Atlas Data Privacy Corporation, et al. v. Vericora.Com, et al.*


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      Appellate Docket:        N/A
      D.C. Docket No.:         N/A
      Court or Agency No.:     Superior Court of New Jersey, Law Division, Morris County
      Docket Number:           MRS-L-000249-24
      Citation, if reported:   N/A

138. Case Name:                Atlas Data Privacy Corporation, et al. v. The Open Data, et al.*
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000325-24
     Citation, if reported:    N/A

139. Case Name:                Atlas Data Privacy Corporation, et al. v. Clustrmaps.Com, et al.*
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000256-24
     Citation, if reported:    N/A

140. Case Name:                Atlas Data Privacy Corporation, et al. v. Spycloud, Inc., et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000263-24
     Citation, if reported:    N/A

141. Case Name:                Atlas Data Privacy Corporation, et al. v. Thryv, Inc., et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000261-24
     Citation, if reported:    N/A

142. Case Name:                Atlas Data Privacy Corporation, et al. v. Information.com, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000245-24
     Citation, if reported:    N/A

143. Case Name:                Atlas Data Privacy Corporation et al. v. Zenleads Inc., et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000228-24


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      Citation, if reported:   N/A

144. Case Name:                Atlas Data Privacy Corporation, et al. v. Reipro LLC, et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000231-24
     Citation, if reported:    N/A

145. Case Name:                Atlas Data Privacy Corporation, et al. v. 411.Info Corp., et al.*
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000229-24
     Citation, if reported:    N/A
146. Case Name:                Atlas Data Privacy Corporation, et al. v. Agr Group Inc., et al.
     Appellate Docket:         N/A
     D.C. Docket No.:          N/A
     Court or Agency No.:      Superior Court of New Jersey, Law Division, Morris County
     Docket Number:            MRS-L-000483-24
     Citation, if reported:    N/A




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